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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

LEROY JOHNSON, JR.,                         §
                                            §
        Plaintiff,                          §
                                            §
                                                  Civil Action No. 4:21-cv-00455-P
v.                                          §
                                            §
LEAR CORPORATION,                           §
                                            §
        Defendant.                          §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. ECF No. 13. No objections were filed, and the Magistrate

Judge’s Recommendation is ripe for review. The District Judge reviewed the proposed

Findings, Conclusions, and Recommendation for plain error. Finding none, the

undersigned District Judge believes that the Findings and Conclusions of the Magistrate

Judge are correct, and they are accepted as the Findings and Conclusions of the Court.

       Accordingly, Defendant’s Motion to Dismiss (ECF No. 6) is GRANTED.

Therefore, this case is DISMISSED WITH PREJUDICE.

       SO ORDERED on this 5th day of October, 2021.




                             Mark T. Pittman
                             UNITED STATES DISTRICT JUDGE
